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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



  DR. SHIVA AYYADURAI,

                                 Plaintiff,

                            v.                             CIVIL ACTION
                                                           NO. 1:20-cv-11889-MLW
  WILLIAM FRANCIS GALVIN, in his official
  capacity as the Secretary of the Commonwealth
  of Massachusetts and his individual capacity,
  MICHELLE TASSINARI, in her individual
  capacity, DEBRA O’MALLEY, in her individual
  capacity, AMY COHEN, in her individual capacity,
  and NATIONAL ASSOCIATION OF STATE
  ELECTION DIRECTORS

                         Defendant.



 RESPONSE TO AUGUST 5, 2021 ORDER ABOUT DOCUMENTS REQUESTED BY
DEFENDANTS CONCERNING AUTHORSHIP OF PLAINTIFF’S MEMORANDUM OF
                       LAW (DOCKET NO. 166)

       Pursuant to the Court’s August 5, 2021 order, the Defendants request the following

documents concerning the authorship of Plaintiff’s Memorandum of Law (Docket No. 166)

either be (a) produced by Plaintiff and all relevant document custodians acting as his attorneys or

agents or (b) unsealed by the Court and made public:

   1. All correspondence between Plaintiff and his attorneys at Todd & Weld concerning what

       claims to assert in a revised second amended complaint;

   2. All correspondence between Plaintiff and Todd & Weld concerning the termination of

       Todd & Weld by Plaintiff;



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   3. All correspondence between Plaintiff and Todd & Weld concerning the memorandum of

         law, including all drafts of the memorandum of law, as well as the revised second

         amended complaint;

   4. All correspondence between Plaintiff (or his other counsel) and Harder LLP, including

         Dilan Esper, Esq., concerning this case;

   5. All correspondence between Plaintiff and Cornell Dolan, P.C., including Timothy

         Cornell, Esq., concerning the revised second amended complaint and the memorandum of

         law, including correspondence concerning who would author those documents;

   6. All electronic documents relating to what would be filed as the memorandum of law,

         including all earlier drafts;

   7. All filings with the Court that were made ex parte and under seal; and

   8. All portions of transcript of August 4, 2021 that were ex parte and under seal.

         To resolve the question of who participated in the creation of Plaintiff’s memorandum of

law, all documents produced by Plaintiff and other document custodians, including his attorneys

and agents, should be produced in a forensically secure, electronic file with all metadata intact.

Defendants’ counsel asked Plaintiff’s counsel to produce this material, but Plaintiff declined to

do so.

         Defendants also respectfully submit that the Court refer the discovery associated with this

issue, including the production of document and the taking of testimony under oath of material

witnesses, including Plaintiff and his counsel or agents, either by deposition or in open court, to a

magistrate judge pursuant to Fed. R. Civ. P. 72(a). Moreover, Defendants request that the

magistrate judge be empowered to make all necessary fact findings and prepare a report and

recommendations for this Court’s consideration concerning the creation of the memorandum of

law. Defendants believe that such a referral will permit the efficient resolution of this issue and
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will also allow the Court to focus on the new complaint that Plaintiff has been ordered to file and

all dispositive motions made relating to this new complaint before the three-day hearing at the

end of August.

                                             Respectfully submitted,

                                             Defendants,

                                             WILLIAM FRANCIS GALVIN, in his official and
                                             individual capacities, MICHELLE TASSINARI, in
                                             her individual capacity, and DEBRA O’MALLEY,
                                             in her individual capacity,

                                             By their attorneys,

                                             MAURA HEALEY
                                             ATTORNEY GENERAL

                                             /s/ Adam Hornstine
                                             Anne Sterman (BBO No. 650426)
                                             Adam Hornstine (BBO# 666296)
                                             Assistant Attorneys General
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                                             Boston, MA 02108
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Date: August 5, 2021




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                              LOCAL RULE 7.1 CERTIFICATION

        I, Adam Hornstine, Assistant Attorney General, hereby certify that on August 4-5, 2021, I
met and conferred with Plaintiff’s counsel in an attempt to resolve or narrow the issues presented
by this request for documents but was unable to do so.

                                             /s/ Adam Hornstine
                                             Adam Hornstine


                                  CERTIFICATE OF SERVICE

      I, Adam Hornstine, Assistant Attorney General, hereby certify that I have this day,
August 5, 2021, served the foregoing document, upon all parties, by electronically filing to all
ECF registered parties.

                                             /s/ Adam Hornstine
                                             Adam Hornstine




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